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                                                                                   September 30, 2022

 Via ECF

  The Honorable Roanne L. Mann
   United States Magistrate Judge
   United States District Court
   for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

 Re:     Joint Status Report: Suffolk County Water Authority v. The Dow Chemical Co. et al.,
         No. 2:17-cv-6980-NG-RLM

 Dear Judge Mann:

        On behalf of Plaintiff Suffolk County Water Authority (“SCWA”) and Defendants The
 Dow Chemical Company, Legacy Vulcan, LLC (f/k/a Vulcan Materials Company), and Ferro
 Corporation, the Parties update below their progress regarding additional discovery items sought
 in response to the Court’s July 1, 2022 order on Defendants’ motion to compel production of
 SCWA’s SCADA database (Dkt. No. 316, “Order”).

         SCWA previously produced a copy of its SCADA data to Defendants on a hard drive which
 Defendants’ consultant GSI Environmental, Inc. (“GSI”) was unable to access. SCWA’s SCADA
 software developer, Systems Integrated (“SI”), and GSI have engaged in productive discussions
 pursuant to which, SI has agreed to, inter alia: continue providing demonstration and training to
 GSI on the architecture, data structure, operation, and queriability of the SCADA system; and load
 the dataset previously produced to Defendants on SI’s servers and run queries to extract data and
 screen diagrams therefrom as requested by Defendants. In addition, Defendants are evaluating the
 Scope of Work and Quote previously provided by SI regarding the potential purchase of SI’s
 proprietary OnSite software license and related computer server to enable Defendants to review
 and query the SCADA database themselves. Finally, SCWA and Defendants have made progress
 on resolving remaining issues in connection with the production of the Piping & Instrumentation
 Diagram (P&ID) files. The parties will report to the Court on the status of the foregoing efforts
 by October 14.

                                          *      *        *


        The Parties will promptly bring to the Court any issues requiring earlier intervention
 following further good faith conferral.

 Respectfully submitted,


    /s/ Joel Alan Blanchet                            /s/ Katie H. Jones
  JOEL ALAN BLANCHET                                 KATIE H. JONES



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